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                             UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF MICHIGAN



JAMES COOLEY, an individual; and
MORGAN COOLEY, and individual,

               Plaintiffs,                                     Case No. ___________________
v.                                                             Hon. _______________________

ELIZABETH MARCUS, an individual,

               Defendant.




       NOW COMES Plaintiffs JAMES COOLEY and MORGAN COOLEY (the “Cooleys”) by

and through their attorneys, Mark H. Zietlow & Associates, PLC, and states as follows:



                                JURISDICTION AND VENUE

     1.       This is a complaint for copyright infringement under the federal Copyright Act of

1976 (17 U.S.C. §§ 101 et. seq., and all amendments thereto (the “Copyright Act”).

     2.       This Court has a subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1338(a).

     3.       Venue in this district is proper under 28 U.S.C. § 1391(b) in that the events giving

rise to the within claims occurred in this judicial district, and under 28 U.S.C. § 1400(b) in that it

is a judicial district where Defendant has committed acts of copyright infringement.




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                                             PARTIES

     4.        Plaintiff James Cooley (“James Cooley”) is a Michigan resident and is married to

 Plaintiff Morgan Cooley.

     5.        Plaintiff Morgan Cooley (“Morgan Cooley”) is a Michigan resident and is married

 to Plaintiff James Cooley.

     6.        James Cooley and Morgan Cooley are the parents and guardians of their minor son

 Azariah. Azariah is under thirteen (13) years old.

     7.        Defendant Elizabeth Marcus (“Defendant”) is a Michigan resident who resides

within the jurisdiction of this Court. Defendant is subject to the jurisdiction of this Court by virtue

of her domicile in Michigan.

                                      The Cooley Copyrights

     8.        James Cooley and Morgan Cooley have spent time preparing for, taking and saving

pictorial and audiovisual works. While production of their works involved time and effort, James

Cooley and Morgan Cooley believed it was worthwhile and valuable.

     9.        Some of the Cooley’s pictorial and audiovisual works contain images of their minor

son Azariah.

     10.       James Cooley’s pictorial work titled “Laughter” is an original work, copyrightable

under the Copyright Act.

     11.       The “Laughter” work was first published on November 13, 2018.

     12.       The “Laughter” copyright has been published and has been filed in conformity with

the provisions of Copyright Act.

     13.       James Cooley is the holder of the exclusive rights under the Copyright Act to

reproduce, distribute, display, or license the reproduction, distribution, and/or display of his



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pictorial work titled “Laughter” (Exhibit 1) throughout the United States. The copyrighted work

“Laughter” is hereinafter referred to as the “Laughter Copyright.”

     14.       Morgan Cooley’s pictorial work titled “The Cooley’s and Elle” is an original work,

copyrightable under the Copyright Act.

     15.       “The Cooley’s and Elle” work was first published on June 29, 2019.

     16.       “The Cooley’s and Elle” copyright has been published and has been filed in

conformity with the provisions of the Copyright Act.

     17.       Morgan Cooley is the holder of the exclusive rights under the Copyright Act to

reproduce, distribute, display, or license the reproduction, distribution, and/or display of her

pictorial work titled “The Cooley’s and Elle” (Exhibit 2) throughout the United States. The

copyrighted work “The Cooley’s and Elle” is hereinafter referred to as the “The Cooley’s and Elle

Copyright.”

     18.       Morgan Cooley and James Cooley’s pictorial work titled “Heart-storming with the

Lord” work is an original work, copyrightable under the Copyright Act.

     19.       The “Heart-Storming with the Lord” work was first published on July 17, 2019.

     20.       The “Heart-storming with the Lord” copyright has been published and has been

filed in conformity with the provisions of the Copyright Act.

     21.       Morgan Cooley and James Cooley are the holders of the exclusive rights under the

Copyright Act to reproduce, distribute, display, or license the reproduction, distribution, and/or

display of their pictorial work entitled “Heart-Storming with the Lord” (Exhibit 3) throughout the

United States. The copyrighted work “Heart-Storming with the Lord” is hereinafter referred to as

the “Heart-Storming with the Lord Copyright.”




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     22.       Morgan Cooley’s pictorial work titled “Heart Storming” is an original work,

copyrightable under the Copyright Act.

     23.       The “Heart Storming” work was first published on September 9, 2019.

     24.       The “Heart Storming” copyright has been published and has been filed in

conformity with the provisions of the Copyright Act.

     25.       Morgan Cooley is the holder of the exclusive rights under the Copyright Act to

reproduce, distribute, display, or license the reproduction, distribution, and/or display of her

pictorial work titled “Heart Storming” (Exhibit 4) throughout the United States. The copyrighted

work “Heart Storming” is hereinafter referred to as the “Heart Storming Copyright.”

     26.       Morgan Cooley and James Cooley’s pictorial work titled “Reflections and

Worship” work is an original work, copyrightable under the Copyright Act.

     27.       The “Reflections and Worship” work was first published on September 30, 2019.

     28.       The “Reflections and Worship” copyright has been published and have been filed

in conformity with the provisions of the Copyright Act.

     29.       Morgan Cooley and James Cooley are the holders of the exclusive rights under the

Copyright Act to reproduce, distribute, display, or license the reproduction, distribution, and/or

display of their pictorial work entitled “Reflections and Worship” (Exhibit 5) throughout the

United States. The copyrighted work “Reflections and Worship” is hereinafter referred to as the

“Reflections and Worship Copyright.”

     30.       James Cooley’s pictorial work titled “Day at the Beach” work is an original work,

copyrightable under the Copyright Act.

     31.       The “Day at the Beach” work was first published on December 02, 2019.




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     32.       The “Day at the Beach” copyright has been published and has been filed in

conformity with the provisions of the Copyright Act.

     33.       James Cooley is the holder of the exclusive rights under the Copyright Act to

reproduce, distribute, display, or license the reproduction, distribution, and/or display of his

pictorial work entitled “Day at the Beach” (Exhibit 6) throughout the United States. The

copyrighted work “Day at the Beach” is hereinafter referred to as the “Day at the Beach

Copyright.”

     34.       The Laughter Copyright, the Cooley’s and Elle Copyright, the Heart-Storming with

the Lord Copyright, the Heart Storming Copyright, the Reflections and Worship Copyright, and

the Day at the Beach Copyright (collectively the “Cooley Copyrights”) are owned and are the

exclusive property of James Cooley and Morgan Cooley.

                                    The GoFundMe Page

     35.       On June 15, 2021, Defendant published a GoFundMe page which includes a

promotional trailer video.

     36.       In this video, Defendant willfully misappropriates the Cooley Copyrights, without

their consent or permission.

     37.       Defendant published a video on GoFundMe on June 15, 2021, using the Laughter

Copyright work without consent or license.

     38.       Defendant willfully misappropriated the Laughter Copyright without permission or

consent.

     39.       Defendant published a video on GoFundMe on June 15, 2021, using The Cooley’s

and Elle Copyright work without consent or license.




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     40.       Defendant willfully misappropriated The Cooley’s and Elle Copyright without

permission or consent.

     41.       Defendant published a video on GoFundMe on June 15, 2021, using the Heart-

Storming with the Lord Copyright work without consent or license.

     42.       Defendant willfully misappropriated the Heart-Storming with the Lord Copyright

without permission or consent.

     43.       Defendant published a video on GoFundMe on June 15, 2021, using the Heart

Storming Copyright work without consent or license.

     44.       Defendant willfully misappropriated the Heart Storming Copyright without

permission or consent.

     45.       Defendant published a video on GoFundMe on June 15, 2021, using the Reflections

and Worship Copyright work without consent or license.

     46.       Defendant willfully misappropriated the Reflections and Worship Copyright

without permission or consent.

     47.       Defendant Marcus published a video on GoFundMe on June 15, 2021, using the

Day at the Beach Copyright work without consent or license.

     48.       Defendant willfully misappropriated the Day at the Beach Copyright without

permission or consent.

     49.       Defendant’s conduct of publishing a video on a GoFundMe campaign with the

Cooley Copyrights constitutes willful copyright infringement under the Copyright Act.

                                     The YouTube Video

     50.       On June 17, 2021, Marcus published a video on YouTube which includes a

promotional trailer video.



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     51.       In this video, Defendant willfully misappropriated the Cooley Copyrights, without

their consent or permission.

     52.       Defendant published a video on YouTube on June 17, 2021, using the Laughter

Copyright work without consent or license.

     53.       Defendant willfully misappropriated the Laughter Copyright without permission or

consent.

     54.       Defendant published a video on YouTube on June 17, 2021, using The Cooley’s

and Elle Copyright work without consent or license.

     55.       Defendant willfully misappropriated The Cooley’s and Elle Copyright without

permission or consent.

     56.       Defendant published a video on YouTube on June 17, 2021, using the Heart-

Storming with the Lord Copyright work without consent or license.

     57.       Defendant willfully misappropriated the Heart-Storming with the Lord Copyright

without permission or consent.

     58.       Defendant published a video on YouTube on June 17, 2021, using the Heart

Storming Copyright work without consent or license.

     59.       Defendant willfully misappropriated the Heart Storming Copyright without

permission or consent.

     60.       Defendant published a video on YouTube on June 17, 2021, using the Reflections

and Worship Copyright work without consent or license.

     61.       Defendant willfully misappropriated the Reflections and Worship Copyright

without permission or consent.




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     62.       Defendant published a video on YouTube on June 17, 2021, using the Day at the

Beach Copyright work without consent or license.

     63.       Defendant willfully misappropriated the Day at the Beach Copyright without

permission or consent.

     64.       James Cooley and Morgan Cooley did not authorize Defendant to use the pictorial

and visual works embodied in the Cooley Copyrights.

     65.       In 2021, James Cooley and Morgan Cooley became aware of the video posted by

Defendant on the GoFundMe Campaign and on YouTube.

     66.       Plaintiffs requested that the video using the Cooley Copyrights be taken down as

they did not give permission or license to Defendant.

     67.       Defendant did not take the GoFundMe campaign down, until recently.

     68.       Despite the fact that Defendant took the GoFundMe campaign with the Cooley

Copyrights down, Defendant’s is still liable to James Cooley and Morgan Cooley for infringement

of the Cooley Copyrights.

     69.       Despite the fact that Defendant took the GoFundMe campaign with the Cooley

Copyrights down, Defendant’s conduct in publishing a video on GoFundMe with the Cooley

Copyrights constitutes willful copyright infringement under the Copyright Act.

     70.       Defendant’s YouTube video with the Cooley Copyrights is still on YouTube, and

Defendant is liable to James Cooley and Morgan Cooley for infringement of the Cooley

Copyrights.

     71.       Defendant’s conduct of publishing a video on YouTube with the Cooley Copyrights

constitutes willful copyright infringement under the Copyright Act.




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                                            Infringement

     72.       Plaintiffs have not authorized Defendant, by license or otherwise, to copy,

reproduce, distribute, or display any of the copyrighted material from the pictorial and audiovisual

works embodied in the Cooley Copyrights.

     73.       Defendant infringed Plaintiffs’ exclusive rights in the Laughter Copyright by

copying, reproducing, duplicating, distributing, and displaying it and/or derivative works derived

therefrom without Plaintiffs’ permission.

     74.       Defendant infringed Plaintiffs’ exclusive rights in The Cooley’s and Elle Copyright

by copying, reproducing, duplicating, distributing, and displaying it and/or derivative works

derived therefrom without Plaintiffs’ permission.

     75.       Defendant infringed Plaintiffs’ exclusive rights in the Heart-storming with the Lord

Copyright by copying, reproducing, duplicating, distributing, and displaying it and/or derivative

works derived therefrom without Plaintiffs’ permission.

     76.       Defendant infringed Plaintiffs’ exclusive rights in the Heart Storming Copyright by

copying, reproducing, duplicating, distributing, and displaying it and/or derivative works derived

therefrom without Plaintiffs’ permission.

     77.       Defendant infringed Plaintiffs’ exclusive rights in the Reflections and Worship

Copyright by copying, reproducing, duplicating, distributing, and displaying it and/or derivative

works derived therefrom without Plaintiffs’ permission.

     78.       Defendant infringed Plaintiffs’ exclusive rights in the Day at the Beach Copyright

by copying, reproducing, duplicating, distributing, and displaying it and/or derivative works

derived therefrom without Plaintiffs’ permission.




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     79.       In using the Plaintiffs’ works pictorial and audiovisual works, Defendant willfully

and intentionally misappropriated the Cooley Copyrights for financial gain.

     80.       Defendant has committed all of the aforementioned acts deliberately, willfully,

maliciously and oppressively, without regard to Plaintiffs’ ownership and proprietary rights in the

Cooley Copyrights.

     81.       Defendant has infringed and will continue to infringe Plaintiffs’ copyrights within

the meaning of 17 U.S.C. § 501 by her copying, distribution, and public display of the Cooley

Copyrights within Defendant’s video.

                                            Damages

     82.       James Cooley and Morgan Cooley have been damaged by Defendant’s

infringement of the Cooley Copyrights.

     83.       Each infringing copy, duplication, or display of the copyrighted material, as well

as the continuous sharing of the video, constitutes a separate claim against Defendant under the

Copyright Act.

     84.       By reason of the copyright infringement described above, Plaintiffs are entitled to

recover from Defendant statutory damages up to $150,000.00 per copyright infringed for

Defendant’s willful copyright infringement, plus attorneys’ fees.

     85.       In addition, Defendant has realized unlawful and unjust financial gain from the

unauthorized and illegal copying, duplication, distribution, and display of the Cooley Copyrights.

     86.       The video on YouTube has 18,994 views.

     87.       On Facebook, the link to the GoFundMe and video has 172 shares.

     88.       Defendant gained financially from use of the Cooley Copyrights since the

GoFundMe Campaign raised about $32,000.



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      89.       Defendant’s malicious misappropriation has caused Plaintiffs emotional distress

and humiliation. The experience adversely affected Plaintiffs’ lives both psychologically and

economically.

      90.       Defendant’s malicious misappropriation has subjected Plaintiffs to intimidation and

invasion of privacy from Defendant.

      91.       Defendant’s malicious misappropriation has subjected Plaintiffs to intimidation and

invasion of privacy from third parties who reasonably could be expected to see and act upon the

video.

      92.       Defendant’s malicious misappropriation has left Plaintiffs with no other reasonable

course but to defend the Cooley Copyrights from being taken, copied and used without permission.

      93.       Plaintiffs have sustained, and will continue to sustain, substantial damages to their

image and copyrights in that the activities of Defendant have caused distress and humiliation and

will continue to cause distress and humiliation.

      94.       As a result of Defendant’s acts of infringements, Plaintiffs are without an adequate

remedy at law in that damages are difficult to calculate.

      95.       Unless injunctive relief is granted as requested, Plaintiffs will be required to pursue

a multiplicity of actions.

      96.       Defendant continues to infringe the Cooley Copyrights, and unless preliminarily

and permanently enjoined by Order of this Court, will continue to infringe the Cooley Copyrights,

all to Plaintiffs’ irreparable injury.

      97.       Defendant has irreparably injured Plaintiffs.




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     98.       Such irreparable injury will continue unless Defendant is preliminarily and

permanently enjoined by this Court from further violation of Plaintiffs’ rights, for which Plaintiffs

have no adequate remedy at law.

     99.       As a result of the conduct of Defendant, Plaintiffs have suffered and continue to

suffer damages in an amount to be determined at trial.



                                        PRAYER FOR RELIEF



     WHEREFORE, Plaintiff respectfully requests that this Court, pursuant to 17 U.S.C. § 501,

enter judgment in favor of Plaintiff and order as follows:

           A. For an Order enjoining Defendant, her agents, and those acting in concert or

              conspiracy with her or them, preliminarily during the pendency of this action and

              permanently thereafter from:

                  a. infringing, or contributing to or participating in the infringement by others

                      to the Cooley Copyrights or acting in concert with, aiding and abetting others

                      to infringe said Cooley Copyrights in any way;

                  b. copying, duplicating, selling, licensing, displaying, distributing, or otherwise

                      using without authorization copies of the Cooley Copyrights to which

                      Plaintiffs are owners of exclusive rights under the respective copyrights or

                      derivative works based thereon;

           B. That Defendant be required to pay over Plaintiffs statutory damages of $150,000 for

              infringement for each separate copyright as set forth in the Copyright Act;




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         C. That Defendant be required to pay over Plaintiffs the actual damages suffered by

             Plaintiffs as a result of the infringement as set forth om the Copyright Act;

         D. For an award of costs under 17 U.S.C. § 505 or as otherwise provided by law;

         E. For an award of attorneys’ fees pursuant to 17 U.S.C. § 505;

         F. For an award of pre-judgment interest and post-judgment interest in the maximum

             amount permitted by law;

         G. For such other and further relief as the Court deems just and proper.



                                                    Respectfully submitted,

                                                    MARK H. ZIETLOW & ASSOCIATES

Dated: January 24, 2023                             By:____/s/ Mark H. Zietlow__________
                                                    Mark H. Zietlow (P37022)
                                                    388 Garden Avenue, Suite 140
                                                    Holland, Michigan 49424
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                                                    Attorneys for Plaintiffs




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                                 EXHIBIT 1


                          LAUGHTER COPYRIGHT




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                                 EXHIBIT 2


                   THE COOLEY’S AND ELLE COPYRIGHT




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                                 EXHIBIT 3


              HEART-STORMING WITH THE LORD COPYRIGHT




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                                 EXHIBIT 4


                      HEART STORMING COPYRIGHT




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                                 EXHIBIT 5


                REFLECTIONS AND WORKSHIP COPYRIGHT




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                                 EXHIBIT 6


                     DAY ON THE BEACH COPYRIGHT




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